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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


JRJ HOSPITALITY, INC., KMK                     )
HOSPITALITY, INC., EIGHT REALTY,               )
LLC, TMK MARKETING, LLC, and                   )
GR BRICK, LLC,                                 )
                                               )
               Plaintiffs,                     )       No. 3:20-CV-13095-FLW-DEA
                                               )
       v.                                      )
                                               )
TWIN CITY FIRE INSURANCE                       )       JURY TRIAL DEMANDED
COMPANY d/b/a THE HARTFORD,                    )
                                               )
               Defendant.                      )

                                   AMENDED COMPLAINT

       Plaintiffs JRJ Hospitality, Inc. (“JRJ Hospitality”) d/b/a Nonna’s Citi Cucina, KMK

Hospitality, Inc. (“KMK Hospitality”) d/b/a Metropolitan Café, Eight Realty, LLC, TMK

Marketing, LLC, and GR Brick, LLC (“GR Brick”) d/b/a Tre and Rosalita’s Roadside Cantina,

by and through their attorneys, Fegan Scott LLC, for their Amended Complaint against

Defendant Twin City Fire Insurance Company d/b/a The Hartford (“Defendant” or “The

Hartford”), allege as follows:

                                       I.   INTRODUCTION

       1.      Insurance contracts are to be interpreted according to their plain meaning. In other

words, plain meaning is the principle that insurance contracts must be read in light of the skill

and experience of an ordinary person. Moreover, insurance companies must act in good faith

when handling a claim and promptly pay benefits owed under a policy.

       2.      Here, Defendant has twisted the plain meaning of the insurance policies issued to

Plaintiffs, by denying coverage under all-risk commercial property insurance policies for losses

suffered as a result of the closure of or restrictions on Plaintiffs’ restaurants and businesses due


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to COVID-19.

       3.      These policies do not contain exclusions for risks of a pandemic, and the

necessary public health countermeasures that would mandate business closures and population-

wide social distancing. Thus, Defendant’s denials of Plaintiffs’ claims are a breach of the

contracts and made in bad faith.

       4.      On March 11, 2020, the Director of the World Health Organization declared the

COVID-19 outbreak a worldwide pandemic: “WHO has been assessing this outbreak around the

clock and we are deeply concerned both by the alarming levels of spread and severity, and by the

alarming levels of inaction. We have therefore made the assessment that COVID-19 can be

characterized as a pandemic.” 1

       5.      On March 16, 2020, the Centers for Disease Control and Prevention, and

members of the National Coronavirus Task Force, issued to the American public guidance styled

as “30 Days to Slow the Spread” for stopping the spread of COVID-19. This guidance advised

individuals to adopt far-reaching social distancing measures, such as working from home,

avoiding shopping trips and gatherings of more than 10 people, and staying away from bars,

restaurants, and food courts. 2

       6.      Following this advice, many state government administrations across the nation

recognized the need to take steps to protect the health and safety of their residents from the

human to human and surface to human spread of COVID-19. As a result, many governmental

entities, including those in the state of New Jersey, entered civil authority orders suspending or




       1
          See https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-
at-the-media-briefing-on-covid-19---11-march-2020.
        2
          https://www.whitehouse.gov/wp-content/uploads/2020/03/03.16.20_coronavirus-
guidance_8.5x11_315PM.pdf.

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severely curtailing business operations of non-essential businesses that interact with the public

and provide gathering places for the individuals.

        7.     The countermeasures to combat the pandemic, requiring the closure of many

businesses, have severely and profoundly impacted restaurants, including those operated by

Plaintiffs. Prior to the pandemic, the National Restaurant Association predicted restaurant

industry sales to hit $899 billion in 2020.3 After the pandemic, the restaurant industry was

predicted to lose $240 billion by year-end, leaving 8 million employees out of work. 4

        8.     Most businesses insure against such catastrophic events like the current

unforeseen COVID-19 pandemic through all-risk commercial property insurance policies. These

policies promise to indemnify the policyholder for actual business losses incurred when business

operations are involuntarily suspended, interrupted, curtailed, and when access to the premises is

prohibited because of direct physical loss or damage to the property and/or by a civil authority

order that restricts or prohibits access to the property. This coverage is commonly known as

“business interruption coverage” and is standard in most all-risk commercial property insurance

policies.

        9.     Plaintiffs purchased such insurance coverage from Defendant, expecting their all-

risk commercial property insurance policies to insure their restaurants and business against

business income losses and extra expenses. Plaintiffs believed they had purchased

comprehensive coverage that would apply to business interruptions under such circumstances,

where they have done everything right to protect their businesses, their employees, and the




        3
         https://restaurant.org/research/reports/state-of-restaurant-
industry#:~:text=Top%2Dline%20finds%3A,economy%20and%20positive%20consumer%20se
ntiment.
       4
         https://restaurant.org/articles/news/restaurants-on-track-to-lose-$80-billion-in-sales.

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public. However, when Plaintiffs made claims, seeking insurance coverage under the policies,

Defendant denied Plaintiffs’ claims.

       10.     This action arises from Defendant’s denials of Plaintiffs’ business interruption

insurance coverage claims arising out of the COVID-19 global health pandemic and breach of

Defendant’s contractual obligations and duty of good faith and fair dealing under the respective

all-risk commercial property insurance policy to indemnify Plaintiffs for lost business income

and extra expenses incurred to comply with governmental orders to stop the human to human

and surface to human spread of the COVID-19 outbreak.

                                       II.   THE PARTIES

       11.     Plaintiff JRJ Hospitality, Inc. is a New Jersey corporation with its principal place

of business in Freehold, New Jersey. JRJ Hospitality operates a restaurant called Nonna’s Citi

Cucina located at 190 US 9 North, Englishtown, New Jersey.

       12.     Plaintiff KMK Hospitality, Inc. is a New Jersey corporation with its principal

place of business in Freehold, New Jersey. KMK Hospitality operates a restaurant called

Metropolitan Café at 8 East Main St., Freehold, NJ.

       13.     Plaintiff Eight Realty, LLC is a New Jersey limited liability company and its two

controlling owners and members are citizens of New Jersey.

       14.     Plaintiff TMK Marketing, LLC is a New Jersey limited liability company and its

three controlling owners and members are citizens of New Jersey.

       15.     Plaintiff GR Brick, LLC is a New Jersey limited liability company and its three

controlling owners and members are citizens of New Jersey. GR Brick operates restaurants

called Tre and Rosalita’s Roadside Cantina at 1048 Cedar Bridge Ave., Brick, NJ.

       16.     Defendant Twin City Fire Insurance Company is an Indiana corporation with its

principal place of business in Indianapolis, Indiana. Defendant is registered to do business in


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New Jersey with the New Jersey Division of Insurance.

        17.      Twin City Fire Insurance Company is a wholly owned subsidiary of Hartford Fire

Insurance Company, which is a subsidiary of Hartford Financial Services Group.

        18.      Twin City Fire Insurance Company is one of the companies through which The

Hartford conducts business in New Jersey.

                              III.    JURISDICTION AND VENUE

        19.      This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. §

1332(a) in that the amount in controversy exceeds $75,000, exclusive of interest and costs, and

the parties are citizens of different states. Plaintiff corporations and the members of the LLCs

are all citizens of New Jersey and Defendant is a citizen of Indiana.

        20.      This Court has personal jurisdiction over Defendant. Defendant is registered to

conduct business with the New Jersey Division of Insurance, regularly conducts business in this

state, and has sufficient contacts with this state. Defendant intentionally availed itself of this

jurisdiction by conducting operations in New Jersey and promoting, selling, and marketing

Defendant’s policies of insurance to New Jersey citizens.

        21.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

part of the events or omissions giving rise to the claims occurred in this District and because

Plaintiffs’ insured property which is the subject of this action is located in this District.

                                            IV.    FACTS

              A. The COVID-19 Global Health Pandemic

        22.      COVID-19 is a respiratory disease that was first identified in Wuhan, China. It

has a wide array of symptoms following infection, ranging from mild symptoms to severe illness

resulting in death. Symptoms include fever or chills, cough, shortness of breath or difficulty

breathing, fatigue, and congestion or runny nose, to name a few. However, certain carriers may


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be asymptomatic. 5

       23.      COVID-19 spreads from person to person through respiratory and saliva droplets,

as well as person-to-person contact. Currently there is no vaccine for COVID-19.


             B. The Closure Orders

       24.      On March 9, 2020, New Jersey Governor Philip D. Murphy issued Executive

Order 103 which declared a “Public Health Emergency and State of Emergency” in the State of

New Jersey due to COVID-19. 6 The Governor declared that the spread of COVID-19 in the

state constituted “an imminent public health hazard that threatens and presently endangers the

health, safety, and welfare of the residents of one or more municipalities or counties of the

State….” 7 Governor Murphy directed “every person or entity in this State or doing business in

this State … to cooperate fully with the State Director of Emergency Management and the

Commissioner of DOH in all matters concerning this state of emergency.” 8

       25.      On March 13, 2020, the President of the United States declared “that the COVID-

19 outbreak in the United States constitutes a national emergency, beginning March 1, 2020.” 9

       26.      On March 15, 2020, the Director of the National Institute of Allergy and

Infectious Diseases, Dr. Anthony Fauci, called for “a dramatic diminution of the personal

interaction that we see in restaurants and in bars,” and recommended pursuing “[w]hatever it

takes to do that….” 10



       5
         https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html.
       6
         https://nj.gov/infobank/eo/056murphy/pdf/EO-103.pdf at 4.
       7
         Id. at 4.
       8
         Id. at 6.
       9
         https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-
emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/.
       10
          https://www.vox.com/policy-and-politics/2020/3/15/21180579/dr-fauci-coronavirus-
guidance-meet-press-this-week.

                                                 6
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       27.     On March 16, 2020, New Jersey Governor Murphy issued Executive Order 104,

restricting all restaurants and dining establishments to “offering only food delivery and/or take

out services.” 11 The Executive Order also restricted the hours of operation for any restaurant. 12

The purpose was to impose aggressive social distancing measures to mitigate further spread of

COVID-19 in New Jersey. 13

       28.     On March 21, 2020, Governor Murphy issued Executive Order 107, called a

“Stay at Home Order,” mandating that all residents must remain at home absent essential

travel. 14 The Stay at Home Order continued the prohibition of on-premises consumption of food

or beverages, restricting all restaurants, cafeterias, and dining establishments to “offer[ ] only

food delivery and/or take out services….” 15 The Governor again proclaimed that it was “the

duty of every person or entity in this State or doing business in this State … to cooperate fully in

all matters concerning this Executive Order.” 16

       29.     On April 7, 2020, Governor Murphy issued Executive Order 119, extending the

declared Public Health Emergency because “the public health hazard presented by the COVID-

19 outbreak has only grown in scope in New Jersey, in the region, and across the United

States…” 17 As of that date, “there were over 41,000 positive cases of COVID-19 in New Jersey,

with at least 1,003 of those cases having resulted in death…” 18

       30.     On April 11, 2020, Governor Murphy issued Executive Order 125, implementing




       11
          https://nj.gov/infobank/eo/056murphy/pdf/EO-104.pdf at 7.
       12
          See id.
       13
          Id. at 4.
       14
          https://nj.gov/infobank/eo/056murphy/pdf/EO-107.pdf.
       15
          Id. at 7.
       16
          Id. at 13.
       17
          https://nj.gov/infobank/eo/056murphy/pdf/EO-119.pdf at 1-2.
       18
          Id. at 3.

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additional mitigation requirements on transit, private carriers, and restaurants to limit the spread

of COVID-19. 19 The Executive Order limited occupancy in any restaurant continuing to provide

food delivery and/or take out services to 10% of capacity, and mandated at least a distance of six

feet between workers and customers, except at the moment of payment and/or exchange of

goods. 20 Executive Order 125 also imposed various other safety and sanitation requirements. 21

       31.     On May 6, 2020, Governor Murphy issued Executive Order 138, again extending

the declared Public Health Emergency because “the public health hazard presented by the

COVID-19 outbreak has only grown in scope in New Jersey, in the region, and across the United

States…” 22 As of that date, “there were over 130,000 positive cases of COVID-19 in New

Jersey, with at least 8,244 of those cases having resulted in death; and … there were positive

cases of COVID-19 in every county in New Jersey, and there have been deaths relating to

COVID-19 in every county in New Jersey…” 23

       32.     On June 2, 2020, Governor Murphy issued Executive Order 150, which as of June

15, 2020, allowed the resumption of outdoor dining, only, but only under the strictest of

standards, including social distancing requirements. 24

       33.     On June 4, 2020, Governor Murphy issued Executive Order 151, continuing the

declared Public Health Emergency. 25

       34.     On June 26, 2020, Governor Murphy issued Executive Order 157, which as of

July 2, 2020, would have allowed the resumption of indoor dining, but with even stricter social



       19
          https://nj.gov/infobank/eo/056murphy/pdf/EO-125.pdf.
       20
          Id. at 15-17.
       21
          See id.
       22
          https://nj.gov/infobank/eo/056murphy/pdf/EO-138.pdf.
       23
          Id. at 3.
       24
          See https://nj.gov/infobank/eo/056murphy/pdf/EO-150.pdf at 6-7.
       25
          https://nj.gov/infobank/eo/056murphy/pdf/EO-151.pdf.

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distancing measures and sanitization protocols than placed on outdoor dining, including capacity

restrictions and limitations on person-to-person contact. 26

        35.      Then, on June 29, 2020, because of “spikes in COVID-19 cases that have been

attributed to indoor food and beverage establishments,” Governor Murphy issued Executive

Order 158 “to temporarily pause the resumption of indoor dining in New Jersey.” 27

        36.      On September 1, 2020, Governor Murphy issued Executive Order 183 which as of

September 4, 2020, allowed the resumption of indoor dining “with strict capacity limits and

health and safety protocols.” 28 The Executive Order, among other things, limited “ the number

of patrons in indoor areas to 25 percent of the food or beverage establishment’s indoor capacity,

excluding the food or beverage establishment’s employees” and mandated that tables be “six feet

apart in all directions from any other table or seat.” 29


              C. Plaintiffs Comply with the Governmental Mandates

        37.      Plaintiffs operate four restaurants in New Jersey: Nonna’s City Cucina, located at

190 US 9 North, Englishtown, Monmouth County, New Jersey; Metropolitan Café, located at 8

East Main St., Freehold, Monmouth County, New Jersey; and Tre and Rosalita’s Roadside

Cantina, both located at 1048 Cedar Bridge Ave., Brick Township, Ocean County, New Jersey.

        38.      On March 16, 2020, to comply with Governor Murphy’s Executive Order and all

applicable state and local guidance, Plaintiffs’ four restaurants ceased operating for two weeks.

During that time, Plaintiffs began preparing to reopen for take-out and delivery service in

accordance with state and local standards. Prior to that time, Plaintiffs’ take-out business at each



        26
           See https://nj.gov/infobank/eo/056murphy/pdf/EO-157.pdf at 3.
        27
           https://nj.gov/infobank/eo/056murphy/pdf/EO-158.pdf.
        28
           https://nj.gov/infobank/eo/056murphy/pdf/EO-183.pdf.
        29
           Id. at 4.

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 of Plaintiffs’ four locations was less than 5% of each location’s gross sales. On or around March

 30, 2020, Plaintiffs four restaurants began providing take-out and delivery service.

        39.     Then on June 15, 2020, Plaintiffs began providing limited outdoor dining under

 the government mandated standards.

        40.     On September 4, 2020, Plaintiffs began offering limited indoor dining, again

 under the restrictive government standards.

        41.     Plaintiffs experienced a dramatic drop in business income in March of 2020,

 continuing through the present. Plaintiffs also incurred expenses in connection with

 modifications to and operations of their businesses in accordance with allowable standards and

 ensuring compliance with all local and state guidelines.

        42.     As a result, Plaintiffs have suffered a direct physical loss of, and damage to, their

 premises because they have been unable to use, or fully use, the properties for their intended

 purpose and/or otherwise maintain their business operations.

        43.     Even in the current atmosphere of indoor dining at a dramatically reduced

 capacity, and because of the oncoming fall and winter weather, Plaintiffs’ businesses will

 experience residual effects of the pandemic because the public views indoor, occupied spaces as

 potentially unsafe.

        44.     Plaintiffs purchased comprehensive business insurance from Defendant to ensure

 against all risks that a business might face, such as the events that occurred as a result of the

 pandemic.

        45.     Generally, each insurance policy covers direct physical loss of or damage to

 covered properties caused by or resulting from any covered cause of loss. The policies

 specifically provide:




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                     a. coverage for physical loss of property that was caused by or resulted from

                           any covered cause of loss;

                     b. coverage for 12 months of business income that is lost due to the necessary

                           suspension of operations caused by a physical loss of property;

                     c. coverage for 90 days of extended business income, which pays for lost

                           profits and expenses that continue while a business rebounds from a

                           covered loss that causes an interruption in the business;

                     d. coverage for business income that is lost due to physical loss at the

                           premises of a dependent property;

                     e. coverage for 30 days of business income that is lost when access to the

                           scheduled premises is prohibited by order of a civil authority as a result of

                           a covered cause of loss; and

                     f.    coverage for physical loss of property that was caused by a virus.

         46.     The policies explicitly exclude a variety of risks: earth movement, seizure of

 property by order of governmental authority, nuclear hazard, power failure, war and military

 action, water damage caused by flood, and neglect of an insured to use all reasonable means to

 save and preserve property from further damage.

         47.     However, the policies do not exclude the risks of a pandemic, and the necessary

 public health counter-measures that would mandate business closures and population-wide social

 distancing.

         48.     Plaintiffs have paid Defendant all premiums required by Defendant to keep the

 policies in full force.




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              D. The Hartford Policies

                    1. JRJ Hospitality

        49.      In return for payment of the premium, Defendant issued Policy No. 13 SBA

 AA475 to JRJ Hospitality, for the periods March 23, 2019 to March 23, 2020 (the “JRJ

 Hospitality Policy”).

        50.      Pursuant to an endorsement (No. 1) effective March 23, 2019, JRJ Hospitality,

 Inc. d/b/a Nonna’s City Cucina; KMK Hospitality, Inc d/b/a Metropolitan Café d/b/a Great

 Restaurants; DRJ Hospitality, LLC; and Eight Realty LLC were added as additional insureds to

 the JRJ Hospitality Policy. Pursuant to an endorsement (No. 4) effective August 14, 2019, TMK

 Marketing, LLC d/b/a Great Restaurants was added as an additional insured to the JRJ

 Hospitality Policy (collectively, the “JRJ Entities”).

        51.      The Covered Property and Scheduled Premises under the JRJ Policy includes the

 restaurants Nonna’s Citi Cucina at 190 US 9 North, Englishtown, NJ and Metropolitan Café at 8

 East Main St., Freehold, NJ. The JRJ Policy and all endorsements for the period March 23, 2019

 to March 23, 2020 are attached as Exhibit A.

        52.      In return for full payment of the premium, Defendant renewed Policy 13 SBA

 AA4745 to the JRJ Entities for the period March 23, 2020 to March 23, 2021. The JRJ Policy

 and all endorsements for the period March 23, 2020 to March 23, 2021 are attached as Exhibit B.

        53.      The JRJ Policy is currently in full effect, providing property, business personal

 property, business income and extra expense, extended business income, business income from

 dependent properties, civil authority, and virus coverage for a policy period of March 23, 2019 to

 March 23, 2020 and March 23, 2020 to March 23, 2021.

                    2. GR Brick

        54.      In return for full payment of the premium, Defendant issued Policy No. 13 SBA


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 NZ9707 to GR Brick, LLC d/b/a Rosalita’s and Tre for the periods December 8, 2019 to

 December 8, 2020 (the “GR Brick Policy”).

        55.     The Covered Property and Scheduled Premises under the GR Brick Policy

 includes the restaurants Tre and Rosalita’s Roadside Cantina both located at 1048 Cedar Bridge

 Ave., Brick, NJ. The GR Brick Policy and all declarations are attached as Exhibit C.

        56.     The GR Brick Policy is currently in full effect, providing property, business

 personal property, business income and extra expense, extended business income, business

 income from dependent properties, civil authority, and virus coverage for a policy period of

 December 8, 2019 to December 8, 2020.

        57.     Plaintiffs have performed all of their obligations under the policies, including the

 payment of the premiums.

                    3. The Applicable Policy Language

        58.     The relevant language in the policies at issue is the same. Plaintiffs’ insurance

 policies included standard forms that are used by The Hartford for all insureds with similar

 coverage. Plaintiffs did not participate in the drafting or negotiating of the terms of its insurance

 policies. Instead, the terms of the policies were unilaterally set by the Hartford and presented on

 a take-it-or-leave-it basis. Plaintiffs did not possess any leverage or bargaining power to alter or

 change the terms and conditions of the insurance policies at issue.

        59.     Each of the policies contains a Special Property Coverage Form, Form SS 00 07

 07 05. In return for Plaintiffs’ premium payments, Defendant provided business income, extra

 expense, extended business income, business income from dependent properties, civil authority,

 and virus coverage that indemnifies Plaintiff for lost business income and expenses.

        60.     Plaintiffs’ Business Income coverage provision states:

                We will pay for the actual loss of Business Income you sustain due


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                   to the necessary suspension of your ‘operations’ during the ‘period
                   of restoration’. The suspension must be caused by direct physical
                   loss of or direct physical damage to property at the ‘scheduled
                   premises’ … caused by or resulting from a Covered Cause of Loss.

 Special Property Coverage Form, ¶A.5.o(1).

         61.       The Hartford is required to pay for “loss of Business Income that occurs within 12

 consecutive months after the date of direct physical loss or physical damage. This Additional

 Coverage is not subject to the Limits of Insurance.” Id. at ¶A.5.o(3).

         62.       “Business Income” means the:

                   (a) Net Income (Net Profit or Loss before income taxes) that would
                   have been earned or incurred if no direct physical loss or physical
                   damage had occurred; and (b) Continuing normal operating
                   expenses incurred, including payroll.

 Id. at ¶A.5.o(4).

         63.       “Suspension” means: “The partial slowdown or complete cessation of your

 business activities….” Id. at ¶A.5.o(5).

         64.       Plaintiffs’ Extended Business Income provision states:

                   (1) If the necessary suspension of your ‘operations’ produces a
                   Business Income loss payable under this policy, we will pay for the
                   actual loss of Business Income you incur during the period that: (a)
                   Begins on the date property is actually repaired, rebuilt or replaced
                   and ‘operations’ are resumed; and (b) Ends on the earlier of: (i)
                   The date you could restore your ‘operations’ with reasonable
                   speed, to the condition that would have existed if no direct physical
                   loss or damage occurred; or (ii) 30 consecutive days after the date
                   determined in (1)(a) above.

                   Loss of Business Income must be caused by direct physical loss or
                   physical damage at the ‘scheduled premises’ caused by or resulting
                   from a Covered Cause of Loss.

 Id., ¶A.5.r(1).

         65.       Plaintiffs’ Extra Expense coverage provision states:

                   We will pay reasonable and necessary Extra Expense you incur


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                   during the ‘period of restoration’ that you would not have incurred
                   if there had been no direct physical loss or physical damage to
                   property at the ‘scheduled premises’ … caused by or resulting
                   from a Covered Cause of Loss.

 Id., ¶A.5.p(1).

         66.       “Extra Expense” means expense incurred:

                   (a) To avoid or minimize the suspension of business and to
                   continue ‘operations’: (i) At the ‘scheduled premises’; … (b) To
                   minimize the suspension of business if you cannot continue
                   ‘operations.’ (c) (i) To repair or replace any property….

                   We will only pay for Extra Expense that occurs within 12
                   consecutive months after the date of direct physical loss or
                   physical damage. This Additional Coverage is not subject to the
                   Limits of Insurance.

 Id., ¶A.5.p(3).

         67.       Plaintiffs’ Business Income from Dependent Properties provision states:

                   (1) We will pay for the actual loss of Business Income you sustain
                   due to direct physical loss or physical damage at the premises of a
                   dependent property caused by or resulting from a Covered Cause
                   of Loss…

 Id., ¶A.5.r(1).

         68.       Plaintiffs’ Civil Authority coverage provision states:

                   (1) This insurance is extended to apply to the actual loss of
                   Business Income you sustain when access to your ‘scheduled
                   premises’ is specifically prohibited by order of a civil authority as
                   the direct result of a Covered Cause of Loss to property in the
                   immediate area of your ‘scheduled premises’.

                   (2) The coverage for Business Income will begin 72 hours after the
                   order of a civil authority and coverage will end at the earlier of: (a)
                   When access is permitted to your ‘scheduled premises’; or (b) 30
                   consecutive days after the order of the civil authority.

 Id., ¶A.5.q(1)-(2).

         69.       Plaintiffs’ Fungi, Bacteria or Virus coverage provision, Form SS 40 93 07 05,

 provides $50,000 of insurance coverage per location caused by direct physical loss due to a


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 virus:

                a. The coverage described in 1.b. below only applies when the
                “fungi”, wet or dry rot, bacteria or virus is the result of one or more
                of the following causes that occurs during the policy period and
                only if all reasonable means were used to save and preserve the
                property from further damage at the time of and after that
                occurrence. (1) A ‘specified cause of loss’ other than fire or
                lightening….

                b. We will pay for loss or damage by ‘fungi’, wet rot, dry rot,
                bacteria and virus. As used in this Limited Coverage, the term loss
                or damage means: (1) Direct physical loss or direct physical
                damage to Covered Property caused by “fungi”, wet rot, dry rot,
                bacteria or virus, including the cost of removal of the “fungi”, wet
                rot, dry rot, bacteria or virus;

                c. … the coverage described under this Limited Coverage is no
                more than the Limit of Insurance stated in the Declarations for
                Building and Business Personal Property, but not greater than
                $50,000.

 Limited Fungi, Bacteria or Virus Coverage, ¶B.1.a(1).

          70.   The policies define covered causes of loss as “risks of direct physical loss” unless

 the loss is otherwise excluded or limited by the policy. Special Property Coverage Form, ¶A.3.

          71.   Any exclusions in the policies that contradict the business income, extra expense,

 extended business income, business income from dependent properties, civil authority, and virus

 provisions are not enforceable as they violate New Jersey public policy as contracts of adhesion.

          72.   Had Defendant wanted to exclude the risks of a pandemic, and the necessary

 public health counter-measures that would mandate business closures and population-wide social

 distancing, it should have done so plainly, as it did with numerous other risks. But it did not, and

 the policies at issue contain no such exclusions.

          73.   The policies at issue do not properly exclude the losses suffered by Plaintiffs and

 thereby The Hartford is obligated to cover Plaintiffs’ business income losses and extra expenses

 incurred due to the necessary suspension of its business operations.


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              E. The Hartford Denies Plaintiffs’ Claims

        74.      The JRJ Entities made a claim under the JRJ Policy for business interruption and

 other losses. Notwithstanding that Plaintiffs’ claims were covered losses, Defendant denied

 Plaintiffs’ claim without any investigation or inquiry. A true and correct copy of the denial letter

 is attached as Exhibit D. As to the JRJ Policy, on July 1, 2020, Defendant denied Plaintiffs’

 claim as follows:

                 We have completed a review of your loss and have determined that
                 since the coronavirus did not cause property damage at your place
                 of business or in the immediate area, this business income loss is
                 not covered. Even if the virus did cause damage, it is excluded
                 from the policy and the limited coverage available for losses
                 caused by virus does not apply to the facts of your loss.

                 As we understand the facts, you are suffering from a loss of
                 business income because you, or a business you depend on, have
                 had to close or limit your business to help prevent the spread of
                 COVID-19, the disease caused by the novel coronavirus.

                                        *       *        *

                 The Business Income coverage is not provided for your claim
                 because there has been no physical loss or damage caused by or
                 resulting from a Covered Cause of Loss to property at a scheduled
                 premises.

                                        *       *        *

                 We have no information to indicate that a civil authority issued an
                 order as a direct result of a covered cause of loss to property in the
                 immediate area of your scheduled premises; accordingly this
                 additional coverage is not available for your claimed loss of
                 business income.

                                        *       *        *

                 To the extent you are making a claim for loss of business income
                 from a dependent property, no direct physical loss or damage
                 caused by or resulting from a Covered Cause of Loss has occurred
                 at a Dependent Property. Accordingly, there is no coverage for
                 your claim under this coverage part.

        75.      The denial letter indicated the existence of exclusions, including a Pollution


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 Exclusion, defining “Pollutants and Contaminants” as “any solid, liquid, gaseous or thermal

 irritant or contaminant, including smoke, vapors, soot, fumes, acids, alkalis, chemicals and

 waste,” may also preclude coverage.

        76.     Defendant also claimed that coverage under the Fungi, Bacteria or Virus

 provision was not applicable because “As we understand your loss, the virus did not result from

 a specified cause of loss; therefore, there is no coverage for your claim based on the limited

 coverage for virus.” Id.

        77.     Then by letter dated September 8, 2020, The Hartford sent the JRJ Entities a letter

 relating to the JRJ Hospitality Policy, stating that a claim representative is “available to assist

 with all your claim related questions,” and despite the earlier denial of coverage under the policy,

 stated that The Hartford was “in receipt of your claim,” but not providing a claim number. A

 true and correct copy of the letter is attached as Exhibit E.

        78.     The GR Brick Entities similarly made a claim under the GR Brick Policy for

 business interruption and other losses. Notwithstanding that Plaintiffs’ claims were covered

 losses, Defendant denied Plaintiffs’ claim without any investigation or inquiry. Defendant

 denied coverage under the GR Brick Policy on April 8, 2020 under a virtually identical form

 document. A true and correct copy of the letter is attached as Exhibit F.

        79.     Indeed, Defendant’s form denial letter appears to have been sent to other Hartford

 policyholders to deny business income and loss expenses claims in New Jersey and in other

 states and the District of Columbia.

                                        CAUSES OF ACTION

                                         COUNT I
                                  DECLARATORY JUDGMENT

        80.      Plaintiffs repeat all allegations set forth above as if set forth in full herein.



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        81.     Plaintiff purchased comprehensive business insurance policies from Defendant.

        82.     Plaintiff paid all premiums required to maintain its comprehensive business

 insurance policies in full force.

        83.     The comprehensive business insurance policies include terms that provide

 coverage for the direct physical loss of use of Plaintiffs’ premises and equipment, as well as

 actual loss of business income and extra expenses sustained during the suspension of operations.

        84.     Beginning on March 16, 2020 and continuing thereafter, the State of New Jersey

 issued a series of Executive Orders that severely restricted access to Plaintiffs’ restaurants, and

 Plaintiffs’ ability to continue business operations as before. As a result of the Executive Orders,

 Plaintiffs lost the use of its business, its business properties, and lost substantial business income

 as a result. These losses continue to this day and are expected to continue into the future.

        85.     These losses are insured losses under several provisions of Plaintiffs’

 comprehensive business insurance policies including provisions covering direct loss of property,

 loss of business income, extended loss of business income, business income from dependent

 properties, extra expense, civil authority, and fungi, bacteria, and virus coverage.

        86.     There are no applicable enforceable exclusions or definitions in the insurance

 policies that preclude coverage for these losses.

        87.     An actual and justiciable controversy exists between Plaintiffs and Defendant as

 to Defendant’s obligations under the insurance policies at issue to cover Plaintiffs’ claims for

 business income losses and extra expense that Plaintiffs incurred in direct connection and as a

 result of the necessary suspension of its business stemming from the Governor’s Executive

 Orders in response to COVID-19.

        88.     Pursuant to New Jersey’s Uniform Declaratory Judgments Act, N.J. Stat. §§




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 2A:16-50-2A16:62, Plaintiffs therefore request a declaration of the following:

                    a. That Defendant’s comprehensive business insurance policies cover claims

                        for lost business income under the circumstances present here;

                    b. That the terms, definitions, and exclusions that Defendant relied on to deny

                        coverage are contradictory or ambiguous and therefore should not be

                        construed against Plaintiffs;

                    c. That Defendant breached the implied covenant of good faith and fair

                        dealing in obscuring policy exclusions or unilaterally amending their

                        policies to exclude coverage for business income under the circumstances

                        presented here; and

                    d. That Defendant acted in bad faith in denying claims for lost business

                        income and extra expenses without investigation or due consideration of

                        those claims.


                                         COUNT II
                                    BREACH OF CONTRACT

        89.     Plaintiffs repeat all allegations set forth above as if set forth in full herein.

        90.     Plaintiffs purchased comprehensive business insurance policies from Defendant.

        91.     Plaintiffs met all of their contractual obligations under the policies, including

 payment of all premiums required by Defendant.

        92.     Beginning on March 16, 2020 and continuing thereafter, the State of New Jersey

 issued a series of Executive Orders that severely restricted access to Plaintiffs’ restaurants, and

 Plaintiffs’ ability to continue business operations as before. As a result of the Executive Orders,

 Plaintiffs lost the use of its business, its business properties, and lost substantial business income

 as a result. These losses continue to this day and are expected to continue into the future.


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        93.     These losses are insured losses under several provisions of Plaintiffs’

 comprehensive business insurance policies including provisions covering direct loss of property,

 loss of business income, extended loss of business income, business income from dependent

 properties, extra expense, civil authority, and fungi, bacteria, and virus coverage.

        94.     There are no applicable enforceable exclusions or definitions in the insurance

 policies that preclude coverage for these losses.

        95.     Defendant breached these contracts by denying comprehensive business insurance

 coverage to Plaintiffs.

        96.     As a direct and proximate result of Defendant’s denial of comprehensive business

 insurance coverage to Plaintiffs, Plaintiffs have suffered damages.

                                             COUNT III
                                             BAD FAITH

        97.     Plaintiffs repeat all allegations set forth above as if set forth in full herein.

        98.     Plaintiffs purchased comprehensive business insurance policies from Defendant.

        99.     Plaintiffs met all of their contractual obligations under the policies, including

 payment of all premiums required by Defendant.

        100.    These contracts of insurance were subject to implied covenants of good faith and

 fair dealing that all parties would act in good faith and with reasonable efforts to perform their

 duties, both explicit and implied, and not impair the rights of other parties to receive the rights,

 benefits, and reasonable expectations under the contracts. Defendant also owed Plaintiffs a duty

 of good faith in processing their claims.

        101.    Beginning on March 16, 2020 and continuing thereafter, the State of New Jersey

 issued a series of Executive Orders that severely restricted access to Plaintiffs’ restaurants, and

 Plaintiffs’ ability to continue business operations as before. As a result of the Executive Orders,



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 Plaintiffs lost the use of its business, its business properties, and lost substantial business income

 as a result. These losses continue to this day and are expected to continue into the future.

        102.    These losses are insured losses under several provisions of Plaintiffs’

 comprehensive business insurance policies including provisions covering direct loss of property,

 loss of business income, extended loss of business income, business income from dependent

 properties, extra expense, civil authority, and fungi, bacteria, and virus coverage.

        103.    There are no applicable enforceable exclusions or definitions in the insurance

 policies that preclude coverage for these losses.

        104.    Defendant acted with malice and in bad faith by denying comprehensive business

 insurance coverage to Plaintiffs in light of the policies and the facts, without any investigation or

 inquiry.

        105.    As a direct and proximate result of Defendant’s denial of comprehensive business

 insurance coverage to Plaintiffs, Plaintiffs have suffered damages.

        WHEREFORE, Plaintiffs respectfully request that this Court:

        a.      Declare that Defendant is required to compensate Plaintiffs’ losses under the

 insurance policies at issue;

        b.      Award Plaintiffs damages for breach of contract and bad faith, and punitive

 damages for bad faith;

        c.      Award Plaintiffs attorneys’ fees pursuant to N.J. R. 4:42-9(a) or otherwise; and

        d.      Award Plaintiffs such other and further relief as is just and appropriate.

                                   DEMAND FOR JURY TRIAL

 Plaintiffs demand a jury trial on all claims so triable.

 Dated: October 20, 2020

                                                                By:__/s/ Jonathan Lindenfeld


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